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             EXHIBIT C
     Case
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                         IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION
                                                    §
GLOBAL WEATHER PRODUCTIONS, LLC                     §
                                                    §
                      Plaintiff,                    §
               v.                                   §
                                                    § Case No: 5:23-cv-01350-JKP-ESC
                                                    §
JOE PAGS MEDIA, LLC
                                                    §
                                                    §
                      Defendant.
                                                    §
                                                    §

                          CLERK’S CERTIFICATE OF DEFAULT


       I, Monica Granados-Ramos, Deputy Clerk of the United States District Court for the

Western District of Texas, do hereby certify that this action was commenced on October 25,

2023 with the filing of a summons and complaint. On January 18, 2024, a copy of the

summons and complaint was served on defendant Joe Pags Media, LLC (“Defendant”) by

personally serving a person authorized to accept service on Defendant’s behalf. Proof of

service was therefore filed on January 19, 2024. I further certify that the docket entries indicate

that the defendant has not filed an answer or otherwise moved with respect to the complaint

herein. The default of the defendant is hereby noted.


Dated: March 5             , 2024

San Antonio, Texas


                                     By:
                                              Monica Granados-Ramos,Deputy Clerk
Case
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